Case 2:04-cr-20077-SH|\/| Document 82 Filed 07/05/05 Page 1 of 3 Page|D 119

IN 'I‘HE UNITED STA"I‘ES DIS'I‘RICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEFHE BY..,. U.C.

WESTERN DIVISION

 

UNITED STATES OF AMERICA MMMD

. . U.S.CAS?F§CTUIH
Plaintiff, w 0{:1'§ §t‘.§EMP}-$

v. CR. NO. 04-200'7'7-Ma

THOMAS NELSON SEATON,

Defendant.

 

ORDER TO SURREN'.DER

 

The defendant, Thomas Nelson Seaton, having been Sentenced in
the above case to the custody of the Bureau of Prisons and having
been granted leave by the Court to report to the designated
facility, IS HEREBY ORDERED to Surrender to the Bureau of Prisons
by reporting to Federal Correctional Institution-Forrest City, P.O.
Box 7000, Forrest City, Arkansas 72335, no later than 2:00 p.m. on
Monday, July 25, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this
Order the defendant Shall report immediately to the Office of the
Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by Signature receipt of a
copy of this Order and that the defendant will report as ordered to
the facility named above.

__';l'

ENTERED this the day Of July, 2005.

M</*L

SAMUEL I-I . MAYS, JR.
This dochent entered on the docket sheetumm n¢IlI‘ATES DI STRICT JUDGE
with Hule 55 and/or 32¢b\ FRCrP on

 

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(Ud»-ZOU??-Ma)

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

       
 

UNITED TESAT DISTRIC COURT - \)VETERi\IS D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:04-CR-20077 Was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

